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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


  UNITED STATES OF AMERICA,

              Plaintiff,                  Case No.: 1:21-cr-00371-BMC-TAM

        v.

  AL MALIK ALSHAHHI, et al.,

              Defendants.




           DEFENDANT THOMAS J. BARRACK’S MEMORANDUM OF LAW
          IN OPPOSITION TO THE GOVERNMENT’S MOTION TO EXCLUDE
                CERTAIN STATEMENTS FROM RASHID AL MALIK
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         Defendant Thomas J. Barrack, Jr., respectfully submits this memorandum of law in

  opposition to the Government’s motion in limine, filed at ECF No. 220, to admit purported

  “statements” made to law enforcement by Mr. Rashid Al Malik.

                                  PRELIMINARY STATEMENT

         The Government seeks to introduce at Defendants’ trial certain statements purportedly

  made by Mr. Al Malik to the FBI. The Government claims that Mr. Al Malik’s “statements” are

  admissible as statements made in furtherance of the charged conspiracy and contends that they are

  relevant because they are a predicate to establish the liability of Mr. Barrack and Mr. Grimes, if

  the Government chooses to pursue an aiding and abetting theory against them. The Government’s

  arguments are misguided: the evidence the Government wants to introduce is inadmissible.

         According to the Government, on March 23, 2018, an FBI agent called Mr. Al Malik and

  told him that the FBI wished to speak with him about his associations “with the Trump Campaign.”

  Gov. Br. 3. Mr. Al Malik said “sure,” and scheduled a breakfast with the agents for the next

  morning. After getting off the phone with the FBI, Mr. Al Malik contacted an associate of Mr.

  Barrack and spoke to him for “two minutes”—an action that is totally unremarkable given that the

  primary person Mr. Al Malik knew with a connection to the “Trump Campaign” was Mr. Barrack.

  The Government notes that Mr. Barrack’s associate then called Mr. Barrack—but the Government

  has no idea what was said to, or by, Mr. Barrack. About an hour after the initial call with the FBI,

  Mr. Al Malik returned the FBI’s call and said that he longer wished to speak with the FBI without

  counsel, the following morning, but would retain an attorney. According to the Government, Mr.

  Al Malik also noted that he had “nothing to do with the Trump Campaign.” Two weeks later, Mr.

  Al Malik, with counsel, appeared for a voluntary interview with the FBI, which appears to have

  lasted for multiple hours, given the length of the Form 302. Mr. Al Malik does not appear to have




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  refused to answer a single question, including every question posed to him about connections to

  the “Trump Campaign.” Id. The Government now claims that Mr. Al Malik made four statements

  at that voluntary interview that were “lies.” Gov. Br. 3-4.

         The Government contends that these events and Mr. Al Malik’s “false statements” are

  relevant and admissible. They are not. While the Government claims admissibility under the

  exception for statements of co-conspirators, see Fed. R. Evid. 801(d)(2)(E), because the purported

  “statements” were “lies” designed to “conceal the existence of the conspiracy,” in fact, nothing

  Mr. Al Malik said was a lie. Mr. Al Malik never worked for President Trump’s Campaign. Mr.

  Al Malik was a business school student at Pepperdine during the time of the 2016 Presidential

  Campaign. Likewise, as described in Section I.B below, none of the four “lies” identified by the

  Government were actually false.

          The admission of this evidence is also plainly prejudicial. The Government has no idea

  what was said on the phone calls between Mr. Barrack’s associate and Mr. Al Malik—much less

  what was said between Mr. Barrack’s associate and Mr. Barrack. The only thing that is clear is

  that Mr. Al Malik decided to postpone his voluntary interview by a measly two weeks and that he

  retained a lawyer—actions which reflect good judgment, not a intent to conceal criminal activity.

  Regardless of whether the Government refrains from specifically arguing that retention of counsel

  is indicative of guilt, it is obvious that permitting this evidence into the record—including

                                                            —will create an impression in the jurors’

  minds that Mr. Barrack was somehow trying to impede the FBI from interviewing Mr. Al Malik

  or otherwise trying to control the FBI’s access to Mr. Al Malik—an impression which is

  completely unfair, given that Mr. Al Malik did appear for an interview and answered questions for

  hours, and the fact that the FBI has no idea what Mr. Barrack or Mr. Grimes knew or said about




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  any of this. The Government’s motion should be denied.

                                           ARGUMENT

           I.    THE STATEMENTS MADE BY MR. AL MALIK WERE NOT “LIES.”

             A. Mr. Al Malik’s Statement to the FBI On March 23, 2018 Was Not False.

         The Government claims that Mr. Al Malik “lied” to the FBI when he said over the phone

  that he had “nothing to do with the Trump Campaign.” But, as noted above, that statement is true,

  or at least, it is not clearly false. Mr. Al Malik wasn’t a member of the Trump Campaign—he was

  studying at graduate school during the 2016 Presidential Campaign and living in Los Angeles.

  The action that the Government points to, in claiming that Mr. Al Malik was “lying,” is the fact

  that Mr. Al Malik once reviewed a draft speech on energy policy drafted by folks at Colony and

  offered comments to Mr. Barrack. Gov. Br. 2. There is no evidence Mr. Al Malik spoke to anyone

  who officially belonged to the Trump Campaign about the speech. Moreover, it is undisputed that

  the Trump Campaign threw out the speech that Mr. Barrack drafted, in favor of an entirely different

  speech written by the Trump Campaign’s speechwriter, Stephen Miller. The fact that Mr. Al Malik

  once reviewed, through Mr. Barrack, a speech that Trump never gave is completely consistent with

  an offhand comment to an FBI agent, over the phone, that Mr. Al Malik wasn’t part of the “Trump

  Campaign.”

         The other “action” that the Government points to is the fact that Mr. Al Malik was

  forwarded a public press release, issued by the Trump Campaign, concerning the Muslim Ban.

  But millions of people reviewed that press release—that doesn’t make them part of the “Trump

  Campaign.” Likewise, the fact that Mr. Al Malik attended the Inauguration in January 2017 is not

  evidence that Mr. Al Malik was part of the Trump “Campaign”: indeed, the Trump “Campaign”

  had ended months earlier, on the evening of the November 8, 2016, when President Trump was




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   by omitting the above from its letter. Also, making sure the names and titles of Middle Eastern

   leaders were correct was, in fact, “among the reasons,” why Mr. Barrack sent the speech to Mr. Al

   Malik. Mr. Al Malik actually corrected Mr. Barrack at one point by saying that

                                                                                                     .

   See Ex. 3 (GX119).

          With respect to the second sentence of the allegedly false statement—where the

   Government claims that Mr. Al Malik falsely said that he “shared the speech with               but

   did not know whether              shared it with anyone else,” see Gov. Br. 4—the Government

   again cherry picks the statement. After the Government showed Mr. Al Malik a document to

   refresh his recollection, Mr. Al Malik said that “



            .” Ex. 1 at 6. There is no reason to believe that Mr. Al Malik was lying when he said that

   he could not remember whether anyone else saw the speech, when he admitted that he expected

   that                 was supposed to review it.

          Fourth, the Government says that Mr. Al Malik represented that he “did not receive any

   messages from either                                        Advisor to provide to Barrack.” Gov.

   Br. 4. Aside from the meetings with                        that he attended with Mr. Barrack, the

   Government has no evidence that Mr. Al Malik ever personally spoke to                             ,

   let alone passed messages from them to Mr. Barrack.

          The government cannot show that a statement was in furtherance of the conspiracy because

   it was an effort to conceal the conspiracy without showing that it was actually concealing

   something. Only “acts or statements designed to conceal an ongoing conspiracy are in furtherance

   of that conspiracy” and thus admissible on that basis. United States v. Mejia, 376 F. Supp. 2d 460,




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   463 (S.D.N.Y. 2005).

           II.    THE GOVERNMENT HAS NOT SHOWN MR. AL MALIK’S
                  STATEMENTS ARE ADMISSIBLE AS THE STATEMENTS OF A CO-
                  CONSPIRATOR MADE IN FURTHERANCE OF THE CONSPIRACY.

          The Government’s argument in its brief is that Mr. Al Malik’s “statements” can come in

   because they were “false,” and thus, “furthered the alleged conspiracy by concealing it.” But this

   argument has several holes: First, as described above, the statements at issue are not false. And

   second, even if the statements were false, they would still be inadmissible because they do not

   further the alleged conspiracy to violate Section 951.

          Although the Federal Rules of Evidence allow admission of a defendant’s statements as

   evidence against a co-defendant in the limited circumstance where the defendants were “co-

   conspirators” and the statement in question was “in furtherance” of that conspiracy, that is an

   exacting standard. See Fed. R. Evid. 801(d)(2)(E). To admit testimony under Rule 801(d)(2)(E),

   “the district court ‘must find (a) that there was a conspiracy, (b) that its members included the

   declarant and the party against whom the statement is offered, and (c) that the statement was made

   during the course of and in furtherance of the conspiracy.’” United States v. Al-Moayad, 545 F.3d

   139, 173 (2d Cir. 2008) (quoting United States v. Alameh, 341 F.3d 167, 176 (2d Cir. 2003)).

          Even assuming that the Government is correct that Mr. Al Malik lied, those lies would be

   an example of a coverup after the central objectives of the conspiracy had been attained, and not

   concealment done in furtherance of the conspiracy. Indeed, the Government’s own authority

   recognizes that the co-conspirator exception applies only to “act[s] taken to conceal an ongoing

   illegal agreement.” United States v. Kahale, 789 F. Supp. 2d 359, 384 (E.D.N.Y. 2009) (emphasis

   added); see also, e.g., United States v. Mermelstein, 487 F. Supp. 2d 242, 261 (E.D.N.Y. 2007)

   (similar). Although the Superseding Indictment cherry-picks the dates of the supposed conspiracy




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   as running from April 2016 through April 2018, see S.I. ¶ 116, the last substantive allegation of

   any act done in furtherance of the conspiracy is from October 2017, see id. ¶ 117. If the alleged

   conspiracy remained ongoing through April 2018, the Government would be able to point to some

   action the defendants took in the six months between October 2017 and April 2018 to further the

   conspiracy. The Government should not be allowed to play games with the dates in its indictment

   to expand the scope of the statements it can admit under the co-conspirator statement exception.

          In any event, as described above, Mr. Al Malik appeared to be completely open and honest

   with the FBI, notwithstanding the Government’s blatant misrepresentations about his statements.

   Taking his statements in the proper context, and considering all the disclosures he made, it cannot

   be said that Mr. Al Malik was trying to further an alleged conspiracy by concealing anything from

   law enforcement.

          III.    REQUIRING DEFENDANTS TO PROVE THE TRUTH OF MR. AL
                  MALIK’S STATEMENTS WILL NECESSITATE A TIME-CONSUMING
                  MINI-TRIAL ON ISSUES THAT ARE CLEARLY TANGENTIAL TO THE
                  TRIAL’S FOCUS.

          The Government’s motion should be denied pursuant to Rule 403.

          It is inappropriate for the Government to force Mr. Barrack and Mr. Grimes to prove the

   truth of Mr. Al Malik’s statements—which are not even about particularly meaningful or important

   matters in the first place—especially since Mr. Al Malik is not even at trial. Defense counsel will

   need to introduce all of the other portions of Mr. Al Malik’s statements discussed in this motion

   to prove Mr. Al Malik wasn’t lying during his interview, as well as all the supporting documents

   necessary to prove the negative—i.e., for example, that Mr. Al Malik was not receiving messages

   from                 to pass along to Mr. Barrack.

          All parties will need to devote significant time during closing arguments to these five

   “statements” of Mr. Al Malik and whether they were true or false—which is a complete distraction



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   from the actual allegations in this case, which are predicated upon Mr. Barrack and Mr. Grimes

   and whether they agreed to act at the direction or control of a foreign government. The question,

   for example, of whether Mr. Al Malik was being truthful when he gave his opinion to the FBI

   regarding the appetite of the UAE Government to meet with President Trump during the 2016

   Presidential Campaign is an issue so far removed from the core issues that need to be resolved in

   this case that the Court should preclude the admission of these statements on the basis of trial

   efficiency alone. See, e.g., United States v. Ulbricht, 79 F. Supp. 3d 466, 492-93 (S.D.N.Y. 2015)

   (precluding evidence where allowing it would lead to a mini-trial on collateral issues); United

   States v. Graziano, 558 F. Supp. 2d 304, 324 (E.D.N.Y. 2008) (precluding evidence where it

   “would lead to a ‘mini-trial’ concerning . . . the defendant’s knowledge and/or involvement with

   respect to any such activities”); United States v. Stewart, 433 F.3d 273, 313 (2d Cir. 2006)

   (upholding preclusion of cross-examination necessitating “mini-trial”).

          In addition to trial efficiency, it seems clear that the real reason why the Government wants

   to introduce these “statements” is to provide a hook for the admission of




                                                             The fact is, even if Mr. Al Malik were being

   tried alongside Defendants—which he is not—the Government could never introduce the fact that

   Mr. Al Malik exercised his right to remain silent and retained counsel when dealing with law

   enforcement. These are fundamental rights guaranteed under the Fifth and Sixth Amendments and

   an individual’s decision to exercise those rights cannot be admitted into evidence against him at a

   criminal trial. See, e.g., United States v. Okatan, 728 F.3d 111, 118 (2d Cir. 2013). Introducing

   these facts at Mr. Barrack’s and Mr. Grimes’s trial is even more prejudicial, since the unspoken




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   insinuation will be that Defendants did something wrong, as they must have encouraged Mr. Al

   Malik to decline an open dialogue with the FBI, instead suggesting that he “lawyer up,” and maybe

   even lie during his interview. This is deeply prejudicial and unfair, especially because there is not

   the slightest bit of evidence suggesting that either Defendant wanted to keep Mr. Al Malik from

   speaking with the FBI—indeed, he spoke to them voluntarily two weeks later—or wanted Mr. Al

   Malik to “lie” about the meaningless and unimportant facts that the Government contends were

   “false” in Mr. Al Malik’s FBI interview. Given the significant possibility of real prejudice to both

   Mr. Barrack and Mr. Grimes from the admission of this evidence, the Court should deny the

   Government’s motion.

                                             CONCLUSION

          The Court should deny the Government’s motion to admit the statements from Al Malik

   identified in its September 13, 2022 letter.




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   Dated:   New York, New York
            September 18, 2022

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